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n m m *_/vz D.C.
|N THE UN|TED STATES DISTR|CT COURT
FOR THE WESTERN DlSTRICT OF TENNESS .. PH |'2: 28
WESTERN D|V|SlON §§ JUL 7

 

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UN|TED STATES OF AMER|CA w OF itt il&i¢t’rl$
Plaintiff

vs.
cR. No. 05-20066-0\/

05-20071-D
R|TA WILL|A|V|SON

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SE`|'|'|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with
a report date of Thursday, August 25l 2005ll at 9:00 a.m., in Courtroom 3, 9th Floor of
the Federal Building, |Vlemphis, TN.

The period from Ju|y 15, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

rr ls so oRDERED this (Q`t*'\ day of July, 2005.

B§N|CE B. DONALD

UN|TED STATES DISTR|CT JUDGE

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This notice confirms a copy of the document docketed as number 22 in
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Honorable Bernice Donald
US DISTRICT COURT

